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U.S, DISTRICT COUR
DISTRICT OF VERMONT

UNITED STATES DISTRICT COURT

FOR THE
DISTRICT OF VERMONT

FRIENDS OF PINE STREET, d/b/a PINE
STREET COALITION,

Plaintiff,
Fortieth Burlington, LLC,
Intervenor Plaintiff,

V.

MAYELA SOSA, in her capacity as Acting
Executive Director of the Federal Highway
Administration; JOE FLYNN, in his
capacity as Secretary of the State of
Vermont Agency of Transportation; and
MIRO WEINBERGER, in his capacity as
Mayor of Burlington,

Defendants.

ENTRY ORDER
(Docs. 32, 75)

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FILED
2023MAR ~6 AM II: 43
CLERK ~

Case No. 5:19-cv-95

This Entry Order addresses that status of two motions that remain pending on the docket

in this case brought under the National Environmental Policy Act. The first is Plaintiffs’ Motion

for Preliminary Injunction, filed on May 27, 2022. (Doc. 32.) Consideration of that motion was

stayed between July 8, 2022 and September 23, 2022. (See Doc. 54 4; Doc. 68 at 5.) The

second motion is Plaintiffs’ Motion to Enforce and alternative Supplemental Motion for

Preliminary Injunction, filed on October 7, 2022. (Doc. 75.) Both of those motions arose as the

parties sought to define the extent to which Defendants could proceed with construction before

the court issues a decision on the merits.
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On October 31, 2022, the court approved the parties’ Joint Motion for Entry of Consent
Order in Lieu of Motion for Preliminary Injunction. (Doc. 87.) That order reinstated the stay of
the May 2022 Preliminary Injunction motion. (/d. 1.) The court writes here to clarify that:
e Consideration of the May 2022 Preliminary Injunction motion (Doc. 32) is STAYED;
e Consideration of the October 2022 Supplemental Motion for Preliminary Injunction
(Doc. 75) is likewise STAYED;
e Plaintiffs’ Motion to Enforce (Doc. 75) is MOOT in light of the October 2022 Consent
Order’s specific provisions regarding the scope of permissible construction activities.
Consistent with the Consent Order, Plaintiffs retain the right to move to enforce that

order. (Doc. 87 ¥ 4.)

SO ORDERED.

Dated at Burlington, in the District of Vermont, this b' “day of March, 2023.
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Geoffrey W. Crawford, Chief Judge
United States District Court
